
727 S.E.2d 286 (2012)
SANDHILL AMUSEMENTS, et al.
v.
STATE of NC, et al.
No. 170A11-2.
Supreme Court of North Carolina.
June 25, 2012.
John F. Maddrey, Solicitor General, for State of N.C, et al.
Kelly Daughtry, Smithfield, for Sandhill Amusements, Inc., et al.
The following order has been entered on the motion filed on the 21st of June 2012 by Plaintiffs:
"Motion Allowed by order of the Court in conference, this the 25th of June 2012."
*287 Plaintiffs shall have up to and including the 17th day of August 2012 to file and serve his/her brief with this Court.
